                                                                            FILED
                                                                        DISTRICT COURT OF GUAM

                                                                                J'JN 14 2013

4                                                                        JEANNE G. QUINATA
                                                                            p.i pdw op cm i r t
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6                                IN THE DISTRICT COURT OF GUAM

7                                  FOR THE TERRITORY OF GUAM

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9    UNITED STATES OF AMERICA,                        CRIMINAL CASE NO. 19-00025

10                                  Plaintiff,
                                                      CONSENT TO RULE 11 PLEA IN
11                   vs.                              A FELONY CASE BEFORE UNITED
                                                      STATES MAGISTRATE JUDGE
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     Joel Po Ymballa.

13
                                    Defendant.
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            I have been advised by my attorney and by the United States Magistrate Judge of my
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     right to enter my plea in this case before a United States District Judge. I hereby declare my
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     intention to enter a plea of guilty in the above case, and I request and consent to the Magistrate
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     Judge conducting the proceedings required by Rule 11, Federal Rules of Criminal Procedure,
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     incident to the making of such plea. I understand that if the United States Magistrate Judge
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     recommends that the plea of guilty be accepted, a presentence investigation and report will be
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     ordered pursuant to Rule 32, Federal Rules of Criminal Procedure. I further understand that the
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     assigned United States District Judge will then act on the Magistrate Judge's Report and
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     Recommendation; and, if the plea of guilty is accepted, will adjudicate guilt and schedule a
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                                        ORIGINAL
                 Case 1:19-cr-00025 Document 6 Filed 06/14/19 Page 1 of 2
     United States v. Joel Po Ymballa . Criminal Case No. 19-00025
     Consent to Rule 11 Plea in a Felonv Case Before United States Magistrate Judge



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     Sentencing hearing at which the District Judge will decide whether to accept or reject any

     associated plea agreement, and will determine and impose sentence.
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               DATED this l*?"1 Fl-iy Stt£3B3F§3*9.
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                                                                      JoelPttTmbalS/
                                                                      Defendant
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                                                                      APPROVED:
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                                                                      Laura C. Sambataro
                                                                      Assistant U.S. Attorney
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